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January 13, 2024

VIA ECF

Hon. Sidney H. Stein
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.at
New York, NY 10007-1312

       Re:     United States v. Menendez, et al., S2 23 Cr. 490 (SHS)

Dear Judge Stein,

We represent Senator Robert Menendez in the above referenced case, and submit this letter to
respectfully request a brief one-week extension of the defendants’ deadline to file suppression
motions. The government does not object to this request, so long as it receives a commensurate
one-week extension on its opposition.

On behalf of Senator Menendez, we plan to file a number of motions (including motions to
dismiss) on Monday, June 15, as ordered by the Court, and this extension request will not affect
those other motions. We also anticipated filing a suppression motion on Monday. However,
yesterday afternoon, the government produced over 700 pages of documents in response to our
prior requests for FBI reports and other documents that we believe are critical to our suppression
motion. More particularly, we requested that the government produce, among other things, FBI
reports and other documents relating to a confidential source (the “CS”) whose information was
central to the issuance of search warrants in this case, as well as redacted FBI reports of witness
statements the government disclosed in summary fashion as part of a Brady disclosure letter.
After substantial back and forth during which the government objected to any obligation to
produce these materials, the government relented and produced these materials yesterday
afternoon, January 12, 2024.1

Yesterday’s production is substantial. It includes approximately 150 pages of dense FBI reports
concerning the CS and another nearly 550 pages of additional FBI reports and other documents,
many of which are highly relevant to the search warrants. Indeed, even from just our very brief
review of some of these materials this morning, it is apparent that these materials are relevant to

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  We made our request for redacted 302s instead of paraphrased Brady disclosures in our Brady
demand letter of December 20, 2023. The government refused at first to comply. It took more
than three weeks for the government ultimately to produce redacted FBI 302s of Brady witness
statements, which comprise more than 200 pages of yesterday’s production.

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our request for a Franks hearing, given the material misrepresentations and omissions we believe
exist in the search warrant affidavits. Particularly with the other motions we plan to file on
Monday, it is impossible for us to review this latest production and incorporate into our
suppression motion on the current schedule. Indeed, this production in many respects will
necessitate substantial modifications and additions to our suppression motion. We need an
additional week to review this production and incorporate as needed into our suppression motion.

Accordingly, we respectfully request that Senator Menendez’s deadline to file suppression
motions be extended to January 22, 2024, the government’s response be due on February 12,
2024, and any reply be filed on February 19, 2024. As stated, this request will not affect the
schedule of any other motions in the case, nor should it effect the trial schedule. The
government does not object to the requested extension.

Respectfully submitted,


/s/ Avi Weitzman
Avi Weitzman
Adam Fee




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